










COURT OF APPEALS
EIGHTH DISTRICT OF TEXAS
EL PASO, TEXAS





IN RE:  JAIME LUEVANO,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator.

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No. 08-05-00192-CV

AN ORIGINAL PROCEEDING 

IN MANDAMUS





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OPINION ON PETITION FOR WRIT OF MANDAMUS
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;This is an original proceeding in mandamus.  Jaime Luevano, Relator, seeks a writ of
mandamus requiring the trial court to “Review a Hearing and Grant a Hearing” in connection
with a “Petition to Reinstate Driver’s License” filed by Relator as a result of the
administrative suspension of his driver’s license for his refusal to submit a specimen of his
breath for analysis.  For the reasons stated below, we deny relief.
STANDARD OF REVIEW
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Mandamus will lie only to correct a clear abuse of discretion.  Walker v. Packer, 827
S.W.2d 833, 840 (Tex. 1992) (orig. proceeding).  Moreover, there must be no other adequate
remedy at law.  Id.
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1.  Clear abuse of discretion
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;An appellate court rarely interferes with a trial court’s exercise of discretion.  A clear
abuse of discretion warranting correction by mandamus occurs when a court issues a decision
which is without basis or guiding principles of law.  See Johnson v. Fourth Court of Appeals,
700 S.W.2d 916, 917 (Tex. 1985) (orig. proceeding).  With respect to resolution of factual
issues or matters committed to the trial court’s discretion, the reviewing court may not
substitute its judgment for that of the trial court.  Walker, 827 S.W.2d at 839.  The relator
must therefore establish that the trial court could reasonably have reached only one decision. 
Id. at 840.  Even if the reviewing court would have decided the issue differently, it cannot
disturb the trial court’s decision unless it is shown to be arbitrary and unreasonable.  Id.  With
respect to a trial court’s determination of the legal principles controlling its ruling, the
standard is much less deferential.  A trial court has no “discretion” in determining what the
law is or applying the law to the facts.  Thus, a clear failure by the trial court to analyze or
apply the law correctly will constitute an abuse of discretion, and may result in appellate
reversal by extraordinary writ.  Id.
2.  No adequate remedy by appeal
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;An appellate court will deny mandamus relief if another remedy, usually appeal, is
available and adequate.  Street v. Second Court of Appeals, 715 S.W.2d 638, 639-40 (Tex.
1986) (orig. proceeding).  Mandamus will not issue where there is “‘a clear and adequate
remedy at law, such as a normal appeal.’”  Walker, 827 S.W.2d at 840 (quoting State v.
Walker, 679 S.W.2d 484, 485 (Tex. 1984)).  Mandamus is intended to be an extraordinary
remedy, available only in limited circumstances.  The writ will issue “‘only in situations
involving manifest and urgent necessity and not for grievances that may be addressed by
other remedies.’”  Holloway v. Fifth Court of Appeals, 767 S.W.2d 680, 684 (Tex. 1989)
(quoting James Sales, Original Jurisdiction of the Supreme Court and the Courts of Civil
Appeals of Texas in Appellate Procedure in Texas, Sec. 1.4(1)(b) at 47 [2d Ed. 1979]).
APPLICATION OF THE LAW TO THE FACTS BEFORE THE COURT
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator is attempting to challenge the final judgment entered by County Court at Law
Number 1, the Honorable Sam M. Paxson presiding, affirming the findings of the
administrative law judge and ordering the surrender of Relator’s driver’s license.  Said
judgment is a final judgment and was signed on March 21, 2005.  Relator’s Petition for Writ
of Mandamus requests that this Court grant a hearing in review of the trial court’s judgment. 
Review of the judgment entered by the trial court is subject to review via the normal
appellate process and is an adequate remedy, and thus intervention in trial court proceedings
by appellate courts through the extraordinary remedy of writ of mandamus is not justified. 
See Walker, 827 S.W.2d at 840.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The record before us requests only that this Court review the hearing held by the trial
court, review the judgment filed therein, and grant a hearing.  Relator’s remedy, if any, lies
in appeal.  Accordingly, we deny the relief requested in the petition for writ of mandamus.


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;RICHARD BARAJAS, Chief Justice
July 7, 2005

Before Barajas, C.J., McClure, and Chew, JJ.


